8:94-cr-00095-RGK-CRZ      Doc # 769    Filed: 12/02/08    Page 1 of 2 - Page ID # 136




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                  Plaintiff,             )                    8:94CR95
                                         )
           V.                            )
                                         )
MICHAEL J. CRESTONI,                     )                     ORDER
                                         )
                  Defendant.             )


     IT IS ORDERED that:

     (1)   The defendant shall enter Valley Hope, O’Neill, Nebraska, and participate
           in the inpatient drug and alcohol treatment program at such institution. He
           shall follow all the rules and regulations of Valley Hope and the directions
           of his U.S. Probation Officer. He shall not leave O’Neill, Nebraska, except
           to attend court proceedings or to consult with his counsel, and he shall
           notify his probation officer in advance should he need to consult with his
           counsel or go to court.

     (2)   The defendant’s sister shall transport the defendant from the jail in Wilber,
           Nebraska, to Valley Hope on the morning of December 3, 2008, and the
           United Stated Marshal’s Service shall release him at that time.

     (3)   The defendant shall continue to follow all terms of supervised release not
           inconsistent with this order.

     (4)   If the defendant is not accepted at Valley Hope or is subsequently
           unsuccessfully discharged, he shall immediately turn himself into the
           United States Marshal’s Service and he shall thereafter be detained pending
           further order of the court.
8:94-cr-00095-RGK-CRZ    Doc # 769    Filed: 12/02/08   Page 2 of 2 - Page ID # 137




     DATED this 2nd day of December, 2008.

                                     BY THE COURT:

                                     S/Richard G. Kopf
                                     United States District Judge
